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                    IN THE UNITED STATES DISTRICT COURT FOR
                           THE DISTRICT OF MARYLAND


MATTHEW K. THALER,                            *

       Plaintiff                              *
                                                     Civil No.: 1:17-cv-01700-RDB
                                              *
       v.
                                              *
DONALD J. TRUMP FOR PRESIDENT,
INC.                                          *

       Defendant                              *

*      *    *     *    *    *    *     *    *     *   *    *
    DEFENDANT DONALD J. TRUMP FOR PRESIDENT, INC’S MEMORANDUM IN
    SUPPORT OF ITS MOTION TO DISMISS PLAINTIFF’S AMENDED COMPLAINT

       Defendant Donald J. Trump for President, Inc. (the “Campaign”), by its attorneys,

FERGUSON, SCHETELICH & BALLEW, P.A., Robert L. Ferguson, Jr. and Ashley E. Mullen, submits

this Memorandum of Law in Support of its Motion to Dismiss Plaintiff’s Amended Complaint and

requests that this Court dismiss all claims asserted against this Defendant with prejudice.

                                   I.      INTRODUCTION

       Plaintiff Matthew K. Thaler (“Plaintiff” or “Thaler”) alleges that he attended a campaign

rally for then-Presidential candidate Donald J. Trump on April 20, 2016 at Stephen Decatur High

School in Berlin, Maryland (“the Premises”). According to the Amended Complaint, Thaler

refused the Campaign’s request that he leave the Premises. Thereafter, after the Campaign advised

the Maryland State Police (“the MSP”) that Plaintiff had refused to leave the Premises, the MSP

determined that Plaintiff was trespassing on the Premises and removed him. The MSP later issued

Thaler a criminal citation for trespass in violation of MD. Code Ann., Crim. Law §6-403. On May

9, 2017, Plaintiff filed a lawsuit against the Campaign and the MSP in the Circuit Court for
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Baltimore County, asserting claims for: (i) Defamation, (ii) False Imprisonment & Arrest, (iii)

Battery, and (iv) Civil Action for Deprivation of Rights-42 U.S.C. §1983. On June 21, 2017, the

MSP removed the case to this Court, and later, moved to dismiss all claims against it.1

        On July 31, 2017, the Campaign timely moved to dismiss all claims made against it in the

initial Complaint.2 As set forth in the memorandum supporting that motion, those claims are

barred by the applicable statute of limitations and/or fail to state claims upon which relief can be

granted. On August 20, 2017, Plaintiff filed an Amended Complaint, which dropped the claims

for Defamation and Civil Action for Deprivation of Rights-42 U.S.C. §1983, and added new claims

for Breach of Contract and Detrimental Reliance.3 The Amended Complaint also dropped all

claims against the MSP.

        Plaintiff’s Amended Complaint attempts to “plead around” the previously filed Motion to

Dismiss and impose additional litigation expense on the Campaign. However, the amendments

are largely conclusory allegations and the new claims are no more plausible than those asserted in

the original Complaint. To the extent Plaintiff has alleged new facts, these facts still remain

woefully inadequate to support the claims asserted. Inventive pleading aside, these fundamental

shortcomings of Plaintiff’s claims remain:

       The Campaign was perfectly within its rights to ask Thaler to leave the campaign
        rally and to request the MSP remove him when he refused to do so. Under well-
        established Maryland law, a ticket to a private event is revocable and does not create
        a contractual right or a promise that the invitee has an absolutely right to attend (or
        remain in attendance at) a private event. That law does not somehow change simply
        because the ticket informs its holder that posters and certain types of camera
        equipment are not permitted at the event. To hold otherwise would lead to absurd
        results directly contrary to Maryland law.



1
  See Document 10.
2
  See Document 21.
3
  See Document 26. Plaintiff also filed a Response to the Campaign’s Motion to dismiss stating that as he had filed
an Amended Complaint, the motion is moot. See Document 27.


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      As a matter of law, the Campaign’s alleged request to the MSP to remove Thaler
       from the Premises for trespassing was legally justified and not “knowingly false.”

      The Campaign cannot be vicariously liable for the actions of the MSP, Plaintiff’s
       conclusory assertions to the contrary. In no way can an officer of the MSP be
       considered an “employee” or “agent” of the Campaign. Nor is it plausible to
       suggest that an independent MSP officer “followed orders” allegedly made by a
       Campaign official.

      Plaintiff’s new claim for Breach of Contract also fails for lack of consideration and
       definiteness, while his Detrimental Reliance claim does not meet at least two of the
       fundamental elements of that claim.

       For these reasons, discussed more fully below, the Amended Complaint should be

dismissed in its entirety, with prejudice.

                                II.    STANDARD OF REVIEW

       “To survive a motion to dismiss, a complaint must "state[ ] a plausible claim for relief’ that

‘permit[s] the court to infer more than the mere possibility of misconduct’ based upon ‘its judicial

experience and common sense.’” Coleman v. Maryland Court of Appeals, 626 F.3d 187, 190 (4th

Cir. 2010) (citing Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)). Factual allegations must be

sufficient to establish a right to relief above the speculative level. Id. While the Court must take

the facts in the light most favorable to Plaintiff it “need not accept the legal conclusions drawn

from the facts” nor “accept as true unwarranted inferences, unreasonable conclusions, or

arguments.” Giarratano v. Johnson, 521 F.3d 298, 302 (4th Cir. 2008)(citations omitted). “At

bottom, a plaintiff must ‘nudge[ ] [its] claims across the line from conceivable to plausible’ to

resist dismissal.”   Wag More Dogs Liab. Corp. v. Cozart, 680 F.3d 359, 365 (4th Cir.

2012)(quoting Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 570, (2007)).


                                III.    STATEMENT OF FACTS

       On or before April 20, 2016, Plaintiff obtained a ticket to attend a presidential campaign

rally for then-candidate Donald J. Trump to be held on April 20, 2016 at 7:00 p.m. at Stephen


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Decatur High School in Berlin, Maryland.                  See Amended Complaint ¶5 and Exhibit 1 to

Complaint4. The ticket included the following language:

         General Information: No posters, banners, or signs may be brought into the
         event. There is no dress code. No professional cameras with a detachable
         lens are permitted. No tripods, monopods, selfie sticks, or GoPros. ID is
         not required for entry.         For further questions, please email:
         events@donaldtrump.com.

         Id. Thaler contends that he “travelled a long distance and incurred substantial expenses

to attend the campaign rally.” Id. at ¶ 9.1. He further maintains that he “conducted himself in a

reasonable, calm and prudent manner.” Id. at ¶9. During the rally, the MSP received a report

from the Campaign that Plaintiff refused to leave the Premises upon request, and made an

independent assessment, as outlined in the citation later issued, that Plaintiff had refused to leave

the rally upon request and determined that he should be removed. Id. at ¶10 and Exhibit 2 to

Complaint. Plaintiff was thereafter issued a criminal citation for violating MD. Code Ann., Crim.

Law §6-403. Id. at ¶12 and Exhibit 2 to Complaint. The citation clearly states that Plaintiff

“remained upon the private property and premises of Donald Trump campaign (Stephen Decatur

High School) after being duly notified not to do so by Trump campaign staff, the agent of the

owner.” See Exhibit 2 to Complaint.

                                               IV. ARGUMENT

         Plaintiff’s Amended Complaint contains four counts against Defendant: (i) Breach of

Contract, (ii) False Imprisonment & Arrest, (iii) Battery, and (iv) Detrimental Reliance. For the

reasons outlined below, each one of these counts must be dismissed as a matter of law.




4
  Plaintiff did not attach Exhibit 1 or Exhibit 2 referenced in the Amended Complaint to the Amended Complaint. It
is apparent that these are the same exhibits that were attached to the original Complaint and for the purposes of this
motion, Defendant treats them as such.


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   A. Plaintiff Fails to State a Claim Upon Which Relief May be Granted for Count I:
      Breach of Contract

           a. The Ticket Issued to Plaintiff Was a Mere Revocable License

       Under Maryland law, a ticket of admission is a merely a revocable license. See Mee v.

Hubbard, No. CIV.A. MJG-02-1750, 2003 WL 22571715, at *8 (D. Md. Feb. 3, 2003), aff'd, 77

F. App'x 645 (4th Cir. 2003) (police officers had probable cause to arrest plaintiff holding ticket

to attend private event hosted at a public high school in Anne Arundel County for trespass when

plaintiff failed to leave the premises when requested.); Condry v. Laurie, 184 Md. 317, 320, 41

A.2d 66, 68 (1945) (a “license is merely a personal privilege to do some particular act or series of

acts on land without possessing any estate or interest therein”); Rau v. Collins, 167 Md. App. 176,

192, 891 A.2d 1175, 1184 (2006) (a license is revocable “at the pleasure of the party making it”).

       Here, the Campaign effectively revoked the license that permitted Plaintiff’s attendance at

the rally when, as outlined in MSP’s citation, it asked him to leave the Premises. See Exhibit 2 to

Complaint. As Thaler admits in the Amended Complaint, the Campaign requested that the MSP

remove Plaintiff from the Premises after he failed to leave voluntarily. See Amended Complaint

¶10. Pursuant to MD. Code Ann., Crim. Law §6-403(b), “[a] person may not remain on private

property…after having been notified by the owner or the owner's agent not to do so.” Accordingly,

under Plaintiff’s own version of the facts, he was guilty of misdemeanor trespassing when he failed

to leave the premises when requested. MD. Code Ann., Crim. Law §6-403(c).

       Plaintiff now maintains that “[t]he ticket contained provisions that rendered it more than a

mere revocable license” in that it “plainly discussed conditions that would permit Trump to revoke

the license, but did not state that it was revocable at will.” See Amended Complaint ¶7. Plaintiff

further argues that even if the ticket is a revocable license, he is “aware of no case, from any state

or federal court, where the right to revoke a license was upheld without at least some evidence of



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inappropriate behavior on the part of the licensee.” Id. at ¶9.3, fn 2. Both contentions are

inconsistent with Maryland law.

         The ticket contains the following: a bar code, a ticket number, the event time and place,

and the “General Information” section quoted above. See Exhibit 1 to the Complaint. While

Plaintiff attempts to characterize the “General Information” as an exhaustive list of “conditions

that would permit Trump to revoke the license,” this is simply not the case. See Amended

Complaint ¶7. The statement that there is “no dress code,” for example, is not intended to be a

reason why a ticketholder may be asked to be leave the event; it merely provides guidance on the

attire for the event.

         The ticket’s statement that “posters, banners, or signs” and “tripods, monopods, selfie

sticks or GoPros” are not permitted in no way purports to state the only reasons why a person could

be asked to leave the event. To argue otherwise, would be to suggest, for example, that the

Campaign would be powerless to remove someone who discharged a firearm at the rally, under

the notion that use of firearms was not one of the specifically enumerated conditions listed on the

ticket. Plaintiff’s logic is nonsensical.5

         Plaintiff’s evidently baseless assertion that he is “aware of no case, from any state or federal

court, where the right to revoke a license was upheld without at least some evidence of

inappropriate behavior on the part of the licensee” fares no better. See Amended Complaint ¶9.3,

fn. 2. Greenfeld v. Maryland Jockey Club of Baltimore, 190 Md. 96, 57 A.2d 335 (1948) is directly

on point. In Greenfeld, the plaintiff purchased admission to the Pimlico racetrack. According to

the complaint, plaintiff, “while properly demeaning himself as a spectator was, without just cause,


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  Furthermore, Plaintiff’s own allegations that he did not “raise his voice, use obscene language, disrupt the peace or
engage in any harassing or unlawful conduct,” concede that these would be other justified bases for revocation of the
license and removal from the premises, although they are not listed as such on the ticket. See Amended Complaint
¶9.


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forcibly ejected by defendant and told not to return and that if he did return he would be denied

admission” Id. at 99. The plaintiff further maintained that the defendant “refused to give him any

just or lawful reason for ejecting him or denying him admission and has never reported that he was

guilty of any offenses . . . but asserts a right to so eject any patron at its pleasure ‘without any

reason whatsoever.’” Id. at 100. The Court of Appeals of Maryland found that the ticket issued

to the plaintiff in Greenfield did not create a right in rem. Id. at 101. The Court further found that

the operator of a race track had the power to serve only whom it pleased and was not obligated to

admit all comers, reasoning that “the law confers no personal right on individuals to attend or bet

at race meetings.” Id. at 105. The decree dismissing the plaintiff’s complaint was therefore

affirmed, even without any evidence of inappropriate behavior on the part of the plaintiff.

       Similarly, in Mee v. Hubbard, the plaintiff’s license to attend an event at Anne Arundel

County High School was revoked when he left the premises to withdraw money from an offsite

ATM, and refused to pay a second admission fee in order to re-enter, despite the presence of a

stamp on his hand that indicated he had already paid when he originally entered the gymnasium.

2003 WL 22571715, at *1 (D. Md. Feb. 3, 2003), aff'd, 77 F. App'x 645 (4th Cir. 2003).

Nonetheless, the court found that the police had good cause to arrest the plaintiff for trespassing

after he refused to leave. Id.

       Here, the Campaign exercised its right to revoke the license it had issued to Plaintiff to

attend the rally. When Plaintiff refused to leave, he was trespassing. He had no “contractual right”

to remain in attendance at the rally once he had been asked to leave.

           b. The Ticket is Not An Enforceable Contract Because No Consideration Was
              Exchanged and Its Terms Were Not Definite

       Even if the ticket issued to Plaintiff in this case can be considered a contract, it is not legally

enforceable. In Maryland, “[t]he formation of a contract requires mutual assent (offer and



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acceptance), an agreement definite in its terms, and sufficient consideration.” CTI/DC, Inc. v.

Selective Ins. Co. of Am., 392 F.3d 114, 123 (4th Cir. 2004) (emphasis added). These requirements

were not met.

          In Maryland, “contracts ordinarily require consideration to be enforceable.” Harford Cty.

v. Town of Bel Air, 348 Md. 363, 381, 704 A.2d 421, 430 (1998)(citing Beall v. Beall, 291 Md.

224, 229, 434 A.2d 1015, 1018 (1981)). “A promise becomes consideration for another promise

only when it constitutes a binding obligation. Without a binding obligation, sufficient

consideration does not exist to support a legally enforceable agreement.” Cheek v. United

Healthcare of Mid-Atl., Inc., 378 Md. 139, 148, 835 A.2d 656, 661 (2003). In Cheek the Court of

Appeals found that the defendant employer’s “promise” to arbitrate employment disputes was

“entirely illusory” based on the fact that it “reserve[d] the right to alter, amend, modify, or revoke

the [Arbitration] Policy at its sole and absolute discretion at any time with or without notice.” Id.

at 149. The Court therefore went on to hold that the arbitration agreement was unenforceable for

lack of consideration. Id. at 161. Here, Plaintiff does not detail any consideration that he

exchanged for the ticket in question, which is not surprising since the tickets were provided free

of charge. Plaintiff’s conclusory allegation that “adequate consideration existed for the promises”6

is not sufficient. See Osei v. Univ. of Maryland Univ. Coll., 202 F. Supp. 3d 471, 480 (D. Md.

2016), reconsideration denied, No. CV DKC 15-2502, 2016 WL 5870029 (D. Md. Oct. 7, 2016)

(“Legal conclusions couched as factual allegations are insufficient… as are conclusory factual

allegations devoid of any reference to actual events.”)(citations omitted).

          Furthermore, the ticket is not sufficiently definite in its terms to constitute a legally

enforceable contract. The face of the ticket itself makes clear that there is no clear or exhaustive



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    See Amended Complaint ¶15.


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list of conditions for which a ticketholder will be asked to leave the event. In fact, nowhere on the

ticket does it even mention that it is providing a list of reasons why a ticketholder’s license to be

on the premises may be revoked. It is simply providing “General Information”. See Exhibit 1 to

Complaint.       The ban on posters, banners, or signs, for example, may simply mean that a

ticketholder would be asked to leave those items outside the facility before entering. “For a

contract to be legally enforceable, its language must not only be sufficiently definite to clearly

inform the parties to it of what they may be called upon by its terms to do, but also must be

sufficiently clear and definite in order that the courts, which may be required to enforce it, may be

able to know the purpose and intention of the parties.” Robinson v. Gardiner, 196 Md. 213, 217,

76 A.2d 354, 356 (1950). Absent any clear “purpose and intention” reflected on the ticket, the

Court simply cannot treat the ticket as a legally enforceable contract, by which Plaintiff had a

“contractual right” to remain at the rally. See also Willis v. Bank of Am. Corp., No. CIV.A. ELH-

13-02615, 2014 WL 3829520, at *37 (D. Md. Aug. 1, 2014) (dismissing plaintiff’s breach of

contract claim when plaintiff failed to identify any definite terms that defendants breached).

               c. The Campaign Did Not Breach Any Implied Covenant of Good Faith and Fair
                  Dealing

        Plaintiff alleges that “as with any contract, the license carried with it the implied duty of

good faith and fair dealing. Thus, implicit in the contract was a condition that [the Campaign]

would treat Mr. Thaler and his other guests with respect, and avoid causing Mr. Thaler any undue

stress from a disgraceful and unwarranted public indignity.” See Amended Complaint ¶7.3.

Maryland law does recognize the implied covenant of good faith and fair dealing in negotiated

contracts. 7     Julian v. Christopher, 320 Md. 1, 9, 575 A.2d 735, 739 (1990). However, “the


7
  Maryland does not recognize an independent cause of action for the breach of the implied contractual duty of good
faith and fair dealing, however. See Baker v. Sun Co. (R & M), 985 F. Supp. 609, 610 (D. Md. 1997).



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covenant of good faith and fair dealing ‘does not obligate a [party] to take affirmative actions that

the [party] is clearly not required to take under [the contract].’ Rather, the duty ‘simply prohibits

one party to a contract from acting in such a manner as to prevent the other party from performing

his obligations under the contract.” E. Shore Markets, Inc. v. J.D. Assocs. Ltd. P'ship, 213 F.3d

175, 182–83 (4th Cir. 2000)(quoting Parker v. Columbia Bank, 91 Md. App. 346, 366, 604 A.2d

521, 531 (1992)).

       As discussed above, the Campaign had the right at any time to revoke Plaintiff’s ticket to

the rally for any reason, or for no reason at all, so long as it was not based on a discriminatory

reason infringing upon his civil rights. It did not breach an implied covenant of good faith and fair

dealing when exercising this right.

   B. Plaintiff Fails to State a Claim Upon Which Relief May be Granted for Count II:
      False Imprisonment & Arrest and Count III: Battery

       Counts II and III seek to hold the Campaign liable for improperly “directing” and/or

“caus[ing]” a police officer to remove Plaintiff from the campaign rally after he refused to leave.

See Amended Complaint ¶¶19, 23. Specifically, Count II, False Imprisonment & Arrest, alleges

that the Campaign “directed the police officer to arrest and intentionally restrict the freedom of

movement of Mr. Thaler,” which the police then did “without a warrant and without any legal

justification.” Id. at ¶19. Similarly, Count III, Battery, claims that the Campaign “intentionally

caused the police officer to touch Mr. Thaler without his consent.” Id. ¶23.

       These counts fail to state a claim against the Campaign for the same two basic reasons:

First, Plaintiff does not allege any credible theory under which the Campaign could be legally

responsible for the actions of the police. Second, even if the Campaign were somehow vicariously

liable for the actions of the police, Plaintiff has no viable underlying claim against the MSP. This




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is because the MSP, whom Plaintiff recently dismissed from the case, was legally authorized to

remove criminal trespassers.

            a. The Campaign Cannot Be Held Vicariously Liable for Actions of the Police

       There has been no allegation that any Campaign official falsely imprisoned or arrested

Plaintiff, or made any sort of physical contact with the Plaintiff. The Amended Complaint makes

clear that these actions were done by a MSP police officer. See Amended Complaint ¶¶19, 23.

Notwithstanding the Amended Complaint’s allegations that the Campaign was responsible for

“directing” and/or “caus[ing]” actions of an MSP officer and that this officer “followed orders”

from the Campaign, Plaintiff offers only mere conclusory allegations and identifies no plausible

theory for holding the Campaign legally responsible for the acts of a MSP officer.

        “[F]undamental to the concept of vicarious liability” is that the “tortuous actor must be the

servant or agent of the one sought to be held liable.” Cox v. Prince George's Cty., 296 Md. 162,

165, 460 A.2d 1038, 1039 (1983). In other words, “a master-servant or principal-agent relationship

must exist.” Id. The Amended Complaint alleges that “[d]uring the operative period of the

complaint, Trump acted through its actual or apparent agents, servants or employees, who acted

within the scope of their said agency, and over whom Trump asserted actual or constructive

direction, control or authority, including, but not limited to, Trump’s campaign officials and

Maryland State Police officers.” See Amended Complaint ¶ 2. (emphasis added). Count II alleges

that it was the officer that arrested and intentionally restricted the freedom of movement of Mr.

Thaler, and Count III alleges that the police officer touched Mr. Thaler without his consent. Id. at

¶¶19, 23.

       Plaintiff has not alleged an employer-employee relationship between the Campaign and the

arresting police officer, nor has he alleged any of the “principal criteria” of an employer-employee




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relationship. These criteria include “(1) the power to select and hire the employee, (2) the payment

of wages, (3) the power to discharge, (4) the power to control the employee’s conduct, and (5)

whether the work is part of the regular business of the employer.” Lovelace v. Anderson, 366 Md.

690, 717-18, 785 A.2d 726, 742 (2001) (internal citations omitted). A private entity can only be

held liable for the actions of off-duty police officers who were hired by the private entity and

working within the scope of their employment. Id. at 720-21. Plaintiff makes no allegations that

the police officers were so hired by the Campaign.

        Notably, in his initial Complaint, Plaintiff did not make any allegations suggesting a

principal-agent relationship between the Campaign and the arresting officer. Quite to the contrary,

the initial Complaint alleged that the arresting officers were “actual or apparent agents, servants

or employees” of the MSP and over whom the MSP “asserted actual or constructive direction,

control or authority.” See Complaint ¶ 3. Now, after seeing the arguments made in the Campaign’s

motion to dismiss—and having dismissed MSP as a party—Plaintiff adds a conclusory allegation

that the MSP officers were agents of the Campaign. See Amended Complaint ¶ 2.

        In determining the existence of a principal-agent relationship, three factors are relevant:

“(1) the agent’s power to alter the legal relations of the principal; (2) the agent’s duty to act

primarily for the benefit of the principal; and (3) the principal’s right to control the agent.” Green

v. H & R Block, Inc., 355 Md. 488, 503, 735 A.2d 1039, 1048 (1999)(citations omitted). Plaintiffs

have alleged no facts that would suggest or support the counter-factual inference that any of these

factors have been satisfied here. It is for this reason that a federal court in Ohio rejected the “highly

dubious proposition that a private entity can be held liable . . . for the actions of sworn, government

police officers, acting within the scope of their official duties.” Alexander v. Haymon, 254 F.

Supp. 2d 820, 845-46 (S.D. Ohio 2003). As the court commented, the host of a public event can




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“in no manner [be] responsible for the actions of sworn police officers patrolling the grounds,” as

the host is “incapable, as a legal matter, of hiring and employing police officers serving in their

official capacities.”

            b. Plaintiff Has No Underlying Claim Against MSP For Which It Can Seek to
               Hold the Campaign Vicariously Liable As Its Actions Were Legally Justified

        Furthermore, because the arrest and removal of Plaintiff from the rally were entirely valid

and justified, Plaintiff does not have an underlying claim against MSP for which it can seek to

hold the Campaign vicariously liable. See Hines v. French, 157 Md. App. 536, 551, 852 A.2d

1047, 1055 (2004)(“False imprisonment, false arrest, and assault and battery ‘can only occur when

there is no legal authority or justification for the arresting officer's actions.’”)(internal citations

omitted). Due to the fact that Plaintiff engaged in criminal trespass, as evidenced by the face of

the Amended Complaint, the MSP were legally authorized to arrest him. State law authorizes

police officers to “arrest without a warrant a person who commits or attempts to commit a felony

or misdemeanor in the presence or within the view of the police officer.” Md. Code Ann., Crim.

Proc. § 2-202. Plaintiff’s criminal trespass was a misdemeanor. Id. § 6-403(c). The police arrested

him as he “remain[ed] upon the . . . premises of [the] Donald Trump campaign . . . after being duly

notified not to do so.” See Exhibit 2 to the Complaint. Therefore, the police were statutorily

authorized to arrest Plaintiff without a warrant, and, as such, no claim for false imprisonment &

arrest or battery can survive.

        Plaintiff now alleges in his Amended Complaint that he was not guilty of criminal trespass

because, “per the clear language of MD. Code Ann., Crim. Law §6-403(d) [criminal trespass]

occurs only where the presence on the land is ‘wanton.’” See Amended Complaint ¶10.2. Plaintiff

argues that his presence on the premises was not wanton because he remained on the premises on




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an actual or good faith belief that he had a contractual right to remain on the premises. Id.

Plaintiff’s new allegations are insufficient under Maryland law.

           In Griffin v. State, the Court of Appeals of Maryland stated that “[w]e see no reason why

the refusal of these appellants to leave the premises after having been requested to do so was not

wanton in that their conduct was in ‘utter disregard for the rights of others.’” 225 Md. 422, 429,

171 A.2d 717, 720 (1961)(reversed on other grounds Griffin v. State of Md., 378 U.S. 130, 84 S.

Ct. 1770, 12 L. Ed. 2d 754 (1964)). The court further stated that “[e]ven though their remaining

may have been no more than an aggravating incident, it was nevertheless wanton within the

meaning of this criminal trespass statute.” Id. at 429-430. For the same reason, once Thaler had

been asked to leave the rally, his refusal to do so was wanton.

               c. The Campaign Did Not Knowingly Provide False Information to the MSP
                  and, In Any Event, the MSP Officer Conducted an Independent
                  Investigation Before Arresting Plaintiff

           “An action for false imprisonment arises when one unlawfully causes a deprivation of

another's liberty against his will. It may also arise when one knowingly gives false information to

a law enforcement officer which leads to another person's arrest.” Allen v. Bethlehem Steel Corp.,

76 Md. App. 642, 649, 547 A.2d 1105, 1109 (1988)(citations omitted)(emphasis in original).

However, a defendant cannot be liable for false imprisonment when “in good faith he or she

provides information, however mistaken, to law enforcement officers.” Id. at 649-50.

           As noted in the Campaign’s first motion to dismiss, Plaintiff’s initial “Complaint

contain[ed] no allegations that the Campaign knowingly provided false information to the

Maryland State Police.”8 Predictably, Plaintiff has now added a conclusory allegation in his

Amended Complaint that the Campaign “knowingly provid[ed] false information to the police



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    See Document 21-1 at pp. 14-15.


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officer.” See Amended Complaint ¶¶10.4, 19. This allegation, however, is based solely on the

previous allegation that the Campaign knew that “Mr. Thaler, despite being asked to leave by

Trump, nevertheless had a contractual right to remain on the premises, and was thus not

trespassing”, an allegation the Campaign specifically denies. Id. at ¶10.1. For the reasons

discussed above, this allegation is simply wrong as a matter of law. Thaler had no contractual

right to remain on the premises after specifically being asked to leave.

        Indeed, no reasonable person could believe that private political rallies lack the right to

limit their attendance as they see fit by revoking tickets at their own discretion. The right of private

political association lies at the very heart of the First Amendment, and thus political campaigns

have the right to exclude whomever they want. Plaintiff, in fact, actually acknowledges this right,

but claims that “[t]his was not a situation where Mr. Thaler infringed upon any real or imagined

First Amendment right of association, because Trump gave Mr. Thaler the ticket, indicating that

it wanted to associate with Mr. Thaler.” See Amended Complaint ¶9.2. This contention ignores

the fact that the ticket was a revocable license, and could be revoked at-will by the Campaign at

any time. Just because the Campaign issued Mr. Thaler a ticket, it did not curtail its ability to

determine it no longer wanted to associate with him.

        Plaintiff’s “false information” assertion also fails because, as evidenced by the citation, the

MSP officer conducted his own independent investigation, and did not rely solely on the

information from the Campaign. In Allen v. Bethlehem Steel Corp., the Court of Special Appeals

of Maryland found that even if there was a genuine dispute of material fact as to whether the

defendant knowingly provided false information, the Assistant State’s Attorney conducted an

“independent investigation” before charging, and as such, the claim failed. 76 Md. App. at 650.

See also Wood v. Palmer Ford, Inc., 47 Md. App. 692, 701, 425 A.2d 671, 677 (1981)(finding that




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if an officer makes an independent investigation, the defendant providing the information “is not

regarded as having instigated the proceeding.”).

       Notwithstanding Plaintiff’s allegations to the contrary—again conveniently added for the

first time in the Amended Complaint—the citation attached to the Complaint makes clear that the

MSP officer did make an “independent investigation” and found that Plaintiff remained on the

private property of the Campaign despite being asked not to do so. Pursuant to MD. Code Ann.,

Crim. Law §6-403(b), “[a] person may not remain on private property including the boat or other

marine vessel of another, after having been notified by the owner or the owner's agent not to do

so.” Violation of this section constitutes a misdemeanor. MD. Code Ann., Crim. Law §6-403(c).

Therefore, the only relevant facts necessary for an officer to conduct his own independent

investigation and to make an arrest were (1) that the Campaign asked Plaintiff to leave and (2) he

refused to do so. The criminal citation states that Thaler “remained upon the private property, and

premises of Donald Trump Campaign (Stephen Decauter High School) after being duly notified

not to do so by Trump Campaign staff, the agent of the owner. Id. As a matter of law, that was

all that was required for the MSP to determine Plaintiff’s liability for trespass. See MD. Code

Ann., Crim. Law §6-403(c). “When the bare allegations of the complaint conflict with any exhibits

or other documents, whether attached or adopted by reference, the exhibits or documents prevail.”

Fare Deals Ltd. v. World Choice Travel.Com, Inc., 180 F. Supp. 2d 678, 683 (D. Md. 2001)(citing

Fayetteville Inv'rs v. Commercial Builders, Inc., 936 F.2d 1462, 1465 (4th Cir. 1991)).

   C. Plaintiff Fails to State a Claim Upon Which Relief May be Granted For Count IV:
      Detrimental Reliance

       In Maryland “[a] party may bring an action seeking both breach of contract and promissory

estoppel, because if the court finds that the contract is unenforceable it may nonetheless provide

relief based on detrimental reliance.” J.E. Dunn Const. Co. v. S.R.P. Dev. Ltd. P'ship, 115 F. Supp.



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3d 593, 609 (D. Md. 2015)(quoting Wright Sols., Inc. v. Wright, No. CIV.A. CBD-12-178, 2013

WL 1702548, at *5 (D. Md. Apr. 18, 2013). To state a claim for detrimental reliance under

Maryland law a plaintiff must show “1. a clear and definite promise; 2. where the promisor has a

reasonable expectation that the offer will induce action or forbearance on the part of the promisee;

3. which does induce action and reasonable action or forbearance by the promisee; and 4. causes

a detriment which can only be avoided by the enforcement of the promise.” Pavel Enterprises,

Inc. v. A.S. Johnson Co., 342 Md. 143, 166, 674 A.2d 521, 532 (1996).

       Plaintiff’s claim fails as a matter of law under at least the first and third elements of this

cause of action. “A clear and definite promise… is one that reasonably defines the contours of the

action or forbearance.” McKenzie v. Comcast Cable Commc'ns, Inc., 393 F. Supp. 2d 362, 373

(D. Md. 2005). Here, the ticket that was issued to Plaintiff does not contain any “clear and definite

promise” that he could attend the campaign rally, and that once in attendance had the right to

remain at the campaign rally. It simply constituted a ticket listing the event time and place as well

as a non-exhaustive list of “General Information” for the ticket holder. The ticket certainly did not

include any promise that it could only be revoked if a person brought “posters, banners, or signs,”

“professional cameras with a detachable lens,” or “tripods, monopods, selfie sticks, or GoPros”

See Amended Complaint ¶ 8. As stated by the Court in McKenzie, “[plaintiff’s] failure to meet

the first element thwarts [his] ability to rely on the theory of promissory estoppel.” 93 F. Supp. 2d

362, 373 (D. Md. 2005). See also Goss v. Bank of Am., N.A., 917 F. Supp. 2d 445, 451 (D. Md.),

aff'd sub nom. Goss v. Bank of Am., NA, 546 F. App'x 165 (4th Cir. 2013)(dismissing plaintiff’s

claim for detrimental reliance where there was no “clear and definite promise”) and J.G.

Wentworth Originations, LLC v. Mobley, No. 11-CV-1406, 2012 WL 4922862, at *10 (D. Md.




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Oct. 12, 2012)(finding plaintiff’s claim fails because there are no facts alleged to indicate

defendant made “a clear and definite promise”).

        Plaintiff also argues that “implicit in the contract was a condition that Trump would treat

Mr. Thaler and his other guests with respect, and avoid causing Mr. Thaler any undue stress from

a disgraceful and unwarranted public indignity.” See Amended Complaint ¶ 7.3(emphasis added).

Maryland courts have squarely held that an “implied understanding or implied agreement” does

not satisfy the first element of a detrimental reliance claim. Konover Prop. Tr., Inc. v. WHE

Assocs., Inc., 142 Md. App. 476, 484, 790 A.2d 720, 724–25 (2002).

        Plaintiff also fails to meet the third element of a Detrimental Reliance claim in that it was

not reasonable for Plaintiff to act in firm reliance on the ticket. “‘A party is justified in relying on

another's factual assertions unless ... the facts should be apparent to one of his knowledge and

intelligence from a cursory glance, or he has discovered something which should serve as a

warning that he is being deceived,’ in which case ‘he is required to make an investigation of his

own.’ ‘In determining if reliance is reasonable, a court is required to view the act in its setting,’

and consider such factors as ‘the background and experience of the party that relied upon the

representation.’” Dierker v. Eagle Nat. Bank, 888 F. Supp. 2d 645, 653–54 (D. Md. 2012)(internal

citation omitted).

        Any reasonable person would have known that the campaign rally could be cancelled by

the Campaign at any time for political reasons, or any other reason, or that ticketholders could be

excluded for any number of reasons not listed on the ticket.9 See McDermott v. Nat'l Shipping Co.

of Saudi Arabia, 18 F. App'x 120, 122 (4th Cir. 2001)(finding that assuming that detrimental



9
  As previously outlined, Plaintiff concedes this point when he discusses other reasons that he could have been
removed from the event namely “rais[ing] his voice, us[ing] obscene language, disrupt[ing] the peace or engag[ing]
in any harassing or unlawful conduct. See Amended Complaint ¶ 9.


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reliance can constitute an exception to the at-will employment doctrine, because plaintiff’s

employment was at-will, he could not reasonably rely on his employer’s statement of intent to

employ him). As such, Plaintiff’s claim for Detrimental Reliance would fail because he could not

reasonably rely on any promise made by the Campaign.

                                     VI.     CONCLUSION

       For the reasons set forth above, Defendant Donald J. Trump for President, Inc. respectfully

requests that this Court enter an Order dismissing all claims against it with prejudice, and that the

Court provide any further relief as it may deem appropriate.




                                      FERGUSON, SCHETELICH, & BALLEW, P.A.



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